                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                       )        MATTICE/CARTER
                                                )
        v.                                      )        CASE NO. 1:10-CR-35
                                                )
 ANTHONY LEWIS FREEMAN                          )




                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 24,

 2010. At the hearing, defendant entered a plea of guilty to Count One of the Indictment in

 exchange for the undertakings made by the government in the written plea agreement. On the

 basis of the record made at the hearing, I find that the defendant is fully capable and competent

 to enter an informed plea; that the plea is made knowingly and with full understanding of each of

 the rights waived by defendant; that it is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; that the defendant understands the

 nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Count One of the Indictment be

 accepted, that the Court adjudicate defendant guilty of the charges set forth in Count One of the

 Indictment, and that the written plea agreement be accepted at the time of sentencing. I further

 recommend that defendant be taken into custody pending sentencing in this matter. Acceptance

 of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence

 are specifically reserved for the district judge.


                                                     1



Case 1:10-cr-00035-TRM-CHS             Document 172         Filed 09/27/10    Page 1 of 2      PageID
                                             #: 432
        The defendant’s sentencing date is scheduled for Monday, February 28, 2011, at 2:00

 pm.



                                              s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
 to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




                                                 2



Case 1:10-cr-00035-TRM-CHS           Document 172        Filed 09/27/10     Page 2 of 2      PageID
                                           #: 433
